                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                           Civil Action No. 5:23-ct-3332-FL

 JOSHUA JOHNSON,                             )
                                             )
         Plaintiff,                          )
                                             )
 v.                                          )
                                             )
 STEADMAN JODY GREENE, in his                )                 NOTICE OF SETTLEMENT
 individual capacity; COLUMBUS COUNTY        )
 SHERIFF WILLIAM ROGERS in his official )
 capacity; BERNETTA CRAWFORD, in her         )
 individual capacity; TRINA WORLEY in her    )
 individual capacity; BRANDON GORE, in his )
 individual capacity; MATTHEW PRIDGEN in )
 his individual capacity; SCOTT FOWLER in    )
 his individual capacity; JAMES NOBLES in    )
 his individual capacity; IKELA GREEN in her )
 individual capacity; and RLI INSURANCE      )
 COMPANY, in its capacity as Surety on the   )
 Official Bond of the Sheriff of Columbus    )
 County,                                     )
                                             )
        Defendants.                          )
                                             )


       Plaintiff Joshua Johnson advises the Court that the parties have agreed to settle this case.

A final settlement agreement will be executed by the parties in the coming weeks, after which

funds will be disbursed. The parties will then file a stipulation of dismissal. Plaintiff anticipates

the dismissal stipulation will be filed within 60 days. Plaintiff respectfully requests that all

forthcoming deadlines be suspended.



       Respectfully submitted, this the 31st day of January, 2025.

                                              PATTERSON HARKAVY LLP

                                              /s/ Paul E. Smith
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